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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                  MARSHALL DIVISION

  AUTOBYTEL, INC.                                  §
      Plaintiff                                    §
                                                   §
  vs.                                              §
                                                   §           CASE NO. 2:04-CV-338
  DEALIX CORPORATION                               §
       Defendant                                   §

                            MEMORANDUM OPINION AND ORDER

         This Claim Construction Opinion construes terms in U.S. Patent No. 6,282,517 (“the ‘517

 patent”). Also before the Court is Autobytel, Inc.’s (“Autobytel”) Motion to Strike the Korth

 Declaration (Docket No. 45). The Court will first discuss its claim construction and then address

 the motion to strike.

                                             BACKGROUND

         Autobytel alleges that Dealix Corporation (“Dealix”) infringes the ‘517 patent. The ‘517

 patent discloses a method and apparatus to allow a potential automobile purchaser to create and

 submit a purchase request for a new or used automobile over a computer network. The patent

 discloses a Data Center system that consists of a system database, a buyer interface, and a dealer

 interface. The potential buyer submits a purchase request to the Data Center system via the buyer

 interface, wherein the Data Center system creates a purchase request record. The purchase request

 record is then stored in the appropriate dealer’s exclusive database region where it is made available

 to that dealer via the dealer interface.

                                            APPLICABLE LAW

         “It is a ‘bedrock principle’ of patent law that ‘the claims of a patent define the invention to

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 which the patentee is entitled the right to exclude.” Phillips v. AWH Corp., 415 F.3d 1303, 1312

 (Fed. Cir. 2005) (en banc) (quoting Innova/Pure Water Inc. v. Safari Water Filtration Sys., Inc., 381

 F.3d 1111, 1115 (Fed. Cir. 2004)). In claim construction, courts examine the patent’s intrinsic

 evidence to define the patented invention’s scope. See id.; C.R. Bard, Inc. v. U.S. Surgical Corp.,

 388 F.3d 858, 861 (Fed. Cir. 2004); Bell Atl. Network Servs., Inc. v. Covad Communications Group,

 Inc., 262 F.3d 1258, 1267 (Fed. Cir. 2001). This intrinsic evidence includes the claims themselves,

 the specification, and the prosecution history. See Phillips, 415 F.3d at 1314; C.R. Bard, Inc., 388

 F.3d at 861. Courts give claim terms their ordinary and accustomed meaning as understood by one

 of ordinary skill in the art at the time of the invention in the context of the entire patent. Phillips,

 415 F.3d at 1312-13; Alloc, Inc. v. Int’l Trade Comm’n, 342 F.3d 1361, 1368 (Fed. Cir. 2003).

         The claims themselves provide substantial guidance in determining the meaning of particular

 claim terms. Phillips, 415 F.3d at 1314. First, a term’s context in the asserted claim can be very

 instructive. Id. Other asserted or unasserted claims can also aid in determining the claim’s meaning

 because claim terms are typically used consistently throughout the patent. Id. Differences among

 the claim terms can also assist in understanding a term’s meaning. Id. For example, when a

 dependent claim adds a limitation to an independent claim, it is presumed that the independent claim

 does not include the limitation. Id. at 1314-15.

         Claims “must be read in view of the specification, of which they are a part.” Id. (quoting

 Markman v. Westview Instruments, Inc., 52 F.3d 967, 978 (Fed. Cir. 1995)). “[T]he specification

 ‘is always highly relevant to the claim construction analysis. Usually, it is dispositive; it is the single

 best guide to the meaning of a disputed term.’” Id. (quoting Vitronics Corp. v. Conceptronic, Inc.,

 90 F.3d 1576, 1582 (Fed. Cir. 1996)); Teleflex, Inc. v. Ficosa N. Am. Corp., 299 F.3d 1313, 1325


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 (Fed. Cir. 2002). This is true because a patentee may define his own terms, give a claim term a

 different meaning than the term would otherwise possess, or disclaim or disavow the claim scope.

 Phillips, 415 F.3d at 1316. In these situations, the inventor’s lexicography governs. Id. Also, the

 specification may resolve ambiguous claim terms “where the ordinary and accustomed meaning of

 the words used in the claims lack sufficient clarity to permit the scope of the claim to be ascertained

 from the words alone.” Teleflex, Inc., 299 F.3d at 1325. But, “although the specification may aid

 the court in interpreting the meaning of disputed claim language, particular embodiments and

 examples appearing in the specification will not generally be read into the claims.” Comark

 Communications, Inc. v. Harris Corp., 156 F.3d 1182, 1187 (Fed. Cir. 1998); see also Phillips, 415

 F.3d at 1323. The prosecution history is another tool to supply the proper context for claim

 construction because a patent applicant may also define a term in prosecuting the patent. Home

 Diagnostics, Inc., v. Lifescan, Inc., 381 F.3d 1352, 1356 (Fed. Cir. 2004) (“As in the case of the

 specification, a patent applicant may define a term in prosecuting a patent.”).

        Although extrinsic evidence can be useful, it is “less significant than the intrinsic record in

 determining ‘the legally operative meaning of claim language.’” Phillips, 415 F.3d at 1317 (quoting

 C.R. Bard, Inc., 388 F.3d at 862). Technical dictionaries and treatises may help a court understand

 the underlying technology and the manner in which one skilled in the art might use claim terms, but

 technical dictionaries and treatises may provide definitions that are too broad or may not be

 indicative of how the term is used in the patent. Id. at 1318. Similarly, expert testimony may aid

 a court in understanding the underlying technology and determining the particular meaning of a term

 in the pertinent field, but an expert’s conclusory, unsupported assertions as to a term’s definition is

 entirely unhelpful to a court. Id. Generally, extrinsic evidence is “less reliable than the patent and


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 its prosecution history in determining how to read claim terms.” Id.

         The patent in suit also contains means-plus-function limitations that require construction.

 Where a claim limitation is expressed in “means plus function” language and does not recite definite

 structure in support of its function, the limitation is subject to 35 U.S.C. § 112, ¶ 6. Braun Med., Inc.

 v. Abbott Labs., 124 F.3d 1419, 1424 (Fed. Cir. 1997). In relevant part, 35 U.S.C. § 112, ¶ 6

 mandates that “such a claim limitation ‘be construed to cover the corresponding structure . . .

 described in the specification and equivalents thereof.’” Id. (citing 35 U.S.C. § 112, ¶ 6).

 Accordingly, when faced with means-plus-function limitations, courts “must turn to the written

 description of the patent to find the structure that corresponds to the means recited in the

 [limitations].” Id.

         Construing a means-plus-function limitation involves multiple inquiries. “The first step in

 construing [a means-plus-function] limitation is a determination of the function of the means-plus-

 function limitation.” Medtronic, Inc. v. Advanced Cardiovascular Sys., Inc., 248 F.3d 1303, 1311

 (Fed. Cir. 2001). Once a court has determined the limitation’s function, “the next step is to

 determine the corresponding structure disclosed in the specification and equivalents thereof.” Id.

 A “structure disclosed in the specification is ‘corresponding’ structure only if the specification or

 prosecution history clearly links or associates that structure to the function recited in the claim.” Id.

 Moreover, the focus of the “corresponding structure” inquiry is not merely whether a structure is

 capable of performing the recited function, but rather whether the corresponding structure is “clearly

 linked or associated with the [recited] function.” Id.




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                                              THE ‘517 PATENT1

        Purchase request

        The Court agrees with Autobytel’s proposed construction and construes the term as

 “information concerning a potential purchase transaction submitted by a potential buyer and received

 by a Data Center system.” Dealix argues that the term should be construed with the limitation that

 a purchase request must go directly from a potential buyer to the Data Center system. Dealix cites

 various excerpts from the specification in support of its argument. See, e.g., Col. 5:9-36, Col. 6:31-

 33, Col. 7:24-25, Col. 13:37-40. Autobytel contends that the claim language and specification both

 contradict Dealix’s proposed construction. Claim 1 requires, “receiving said purchase request over

 a computer network from a potential buyer,” and Autobytel argues that no limitation is placed on the

 purchase request requiring it to go directly from the potential buyer to the Data Center system. Col.

 18:9-10. Autobytel also points to the language in claim 2 that states, “wherein said act of receiving

 said purchase request comprises receipt of a request that is transmitted through a plurality of web

 pages” arguing that because the purchase request can go through a “plurality of web pages” it is not

 limited to traveling directly from the potential buyer to the Data Center system. Col. 18:30-32.

 Furthermore, Autobytel points to Column 7, lines 7 to 9 of the specification, which states “[i]n yet

 another embodiment, the potential buyer may also submit a vehicle purchase request from the third-

 party computer” arguing that a purchase request does not have to come directly from the potential

 buyer’s computer.

        The Court is persuaded by Autobytel’s arguments. Claim 2 claims a method for receiving

 a purchase request through a plurality of web pages. To prevent claim 2 from being superfluous,


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            Appendix A contains the relevant claims of the patent with the disputed terms in bold.

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 claim 1 is differentiated in that a purchase request under claim 1 is not transmitted through a plurality

 of web pages. However, nothing in the claim language or specification prevents a purchase request

 under claim 1 from traveling through some other type of computer network, one not employing a

 plurality of web pages, in an indirect path between the potential buyer and the Data Center system.

 Accordingly, the Court does not construe purchase request with the limitation that it must travel

 directly from a potential buyer to the Data Center system.

         Data Center system

         The parties and the Court agree that the term should be construed as “the system defined by

 the claims of the patent-in-suit.”

         System database

         The Court modifies Autobytel’s proposed construction and construes the term as “a database

 in the Data Center system.” Dealix argues that the term should be construed as “a collection of

 related data stored in one or more computerized files in a manner that can be accessed by users or

 computer programs via a database management system used by the Data Center system.” Dealix’s

 proposed construction comes from the IEEE Dictionary’s third listed definition of “database.”

 Dealix argues that the “ambiguous and sometimes contradictory way in which the patent

 specification refers to the system database and the Data Center Programs in relation to the storage

 medium 106” requires extrinsic evidence to provide a proper construction to the term. Autobytel

 contends that Dealix’s construction is too limiting and proposes that the term should be construed

 as “a database associated with the Data Center system.” Autobytel relies on the specification’s

 discussion of the system database, which is shown as storage medium 106 in Figure 1, see Col. 6:43-

 54, and particularly the portion that states, “In an alternative embodiment, the database may conform


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 to any database standard, or may even conform to a non-standard, private specification.” Col. 6:45-

 47. Autobytel contends that the specification supports a wide variety of database implementations

 and is not limited to the use of a database management system.

        The Court agrees with Autobytel that there is no need to look to extrinsic evidence such as

 dictionaries to construe the term. Furthermore, the Court agrees that the specification supports a

 wide variety of database implementations and is not limited to the use of a database management

 system. However, the Court does not agree with Autobytel that the database is simply “associated”

 with the Data Center system. The Court agrees with Dealix that the word “system” is a reference

 to the Data Center system. Accordingly, the Court construes the term such that the database is “in”

 the Data Center system.

        Buyer interface

        The parties and the Court agree that the term should be construed as “a hardware/software

 module used by a potential buyer to submit a purchase request to the Data Center system.”

        Dealer interface

        The Court agrees with Autobytel’s construction and construes the term as “a

 hardware/software module used by a dealer to access the Data Center system.” Dealix argues that

 the term should be construed as a “mechanism through which a dealer accesses his exclusive

 database region of the system database.”        During the Markman hearing, Dealix agreed to

 “hardware/software module” in place of “mechanism.” However, Dealix still argues that the

 specification and claim language indicate that the module gives the dealer access specifically to his

 exclusive database region as opposed to the Data Center system in general. In support of its

 argument, Dealix points to language in the specification that states, “The dealer access module 612


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 provides a dealer an interface into the Data Center system. . . . More particularly, a dealer may

 directly access its exclusive database region, and the information contained therein, by logging into

 the Data Center system through the dealer access module 612.” Col. 17:37-44. Autobytel argues

 that this same language from the specification supports its construction. Specifically, Autobytel

 points to the first sentence of the section cited by Dealix, which states the dealer has access to the

 Data Center system. Col. 17:37-38. The second sentence, which Dealix relies on, does not express

 a limitation of the dealer’s access, but clarifies how the dealer gains access to its exclusive database

 region. Autobytel contends that this first sentence cited by Dealix sufficiently describes the “dealer

 interface” and that inclusion of the term “exclusive database region” only adds unnecessary

 confusion because the Court is separately construing that term. The Court is persuaded by

 Autobytel’s arguments and construes the term in accordance with Autobytel’s proposed construction.



        Remote interface

        The parties and the Court agree that the term should be construed as “interface to provide

 remote access to the Data Center.”

        Immediate access

        The parties and the Court agree that the term should be construed as “the ability of the buyer

 interface and dealer interface to immediately find and go to a database.”

        Computer network

        The parties and the Court agree that the term should be construed as “two or more computers

 interconnected to enable communication among them.”




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        Exclusive database region

        The parties and the Court agree that the term should be construed as “the collection of all

 purchase request records in the system database associated with a particular dealer for its exclusive

 access.”

        Direct access

        The parties and the Court agree that the term should be construed as “the ability of a

 computer to find and go straight to a particular storage location in memory or on disk to retrieve or

 store an item of information.”

        Product identification data

        The Court modifies Autobytel’s construction and construes the term as “information

 displayed to and/or submitted by a potential buyer that identifies a product sought to be purchased.”

 Dealix contends that the term should be construed as “information submitted by a potential buyer

 to the Data Center system that identifies a product sought to be purchased.” Dealix argues that there

 is no support for construing the term in such a way that product identification data can be both

 displayed to and submitted by a the potential buyer.

        Autobytel contends that the term should be construed as “information submitted by and

 displayed to a potential buyer that identifies a product sought to be purchased.” Autobytel argues

 that Dealix tries to limit the term’s construction to exclude the embodiment in which information

 can be display to a potential buyer. Autobytel points to Column 7, lines 6 to 9 of the specification

 to support its argument that in one embodiment product identification data is displayed to a potential

 buyer. See Col. 7:6-7. The Court is persuaded by Autobytel’s argument and agrees that the claim

 language should not be limited to exclude the embodiment in which identification data can be


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displayed to a potential buyer. However, the claim language does not require that information be

displayed, and the Court will not construe the term in such a manner. Therefore, the Court modifies

Autobytel’s proposed construction so that information can be displayed to, “and/or” submitted by,

the potential buyer.

       Buyer location information

       The parties and the Court agree that this term does not require construction.

       Creating a purchase request record

       The parties and the Court agree that this term does not require construction.

       Communicating said purchase request

       The parties and the Court agree that this term does not require construction.

       Displaying

       The parties and the Court agree that this term should be construed as “making visible.”

       Refreshing

       The parties and the Court agree that this term should be construed as “updating information

on a display.”

       Immediately

       The parties and the Court agree that this term does not require construction.

       Web page

       The parties and the Court agree that this term should be construed as “a collection of data

formatted in a markup language with hypertext capabilities.”

       Server that is remote to the identified dealer

       The parties and the Court agree that this term should be construed as “server distant from the


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dealer. Server: a device or computer system that is dedicated to providing specific facilities to other

devices attached to the computer network.”

       Entry system

       The parties and the Court agree that this term should be construed as “hardware/software

module that enables the input of information.”

       Provides at least a first web page to said buyer

       The parties and the Court agree that this term should be construed as “hardware/software

module that produces the web page through which a potential buyer creates and submits a purchase

request.”

       Dealer management system

       The parties and the Court agree that this term should be construed as “hardware/software

module that enables a dealer to manage information.”

       Remote access

       The parties and the Court agree that this term should be construed as “access from a

physically distant computer.”

       Immediately storing [said purchase request record]

       The parties and the Court agree that this term does not require construction.

       Formulating

       The parties and the Court agree that this term should be construed as “creating.”

       Logically connecting

       The parties and the Court agree that this term should be construed as “establishing a link

between.”


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       Purchase request record

       The Court modifies Autobytel’s proposed construction and construes the term as “a

collection of fields populated by dealer information and buyer information.” Dealix argues that the

term should be construed as “purchase request formatted for entry into the system database.” Dealix

contends that there is no intrinsic support for Autobytel’s construction and that the Court must turn

to extrinsic evidence to construe the term. However, Autobytel contends there is intrinsic evidence,

specifically the specification, that supports its construction of purchase request record as “a

collection of fields populated with dealer information and validated buyer information.” Autobytel

argues that the dealer information is part of the purchase request record. To support this conclusion,

Autobytel looks to the specification, which states, “The Data Center system receives the purchase

request information from the buyer and determines an appropriate seller to receive the purchase

request. The Data Center then proceeds to create and store the appropriate purchase request record

in the database region exclusively assigned to the seller.” Col. 3:5-9. Autobytel contends that this

language illustrates that the record must include dealer information if it is to be directed to the

appropriate seller. Autobytel also points to the specification’s description of Figure 7 as an example

of a purchase request record that includes dealer information. See Col. 11:9-18. The specification

describes “a set of information fields comprising a new vehicle purchase request record according

to one embodiment of the invention” and lists “dealer identification number” as one of the items

found in said purchase request record. See id. The Court is persuaded by Autobytel’s argument and

agrees that the term should be construed to include both dealer information and buyer information.

However, the Court does not agree with Autobytel that the word “validated” or “checked” should

modify buyer information.


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       Autobytel cites language from the specification that states, “Once the buyer information is

entered, the Data Center moves to a step wherein a check is performed to determine if the buyer has

previously submitted a new vehicle purchase request within the previous 48 hours.” Col. 15:47-50.

Dealix argues this language only demonstrates that one embodiment of the invention includes a step

for checking to see if a potential buyer has previously submitted a request and does not justify adding

a “validated” or “checked” modifier to buyer information. The Court agrees with Dealix that there

is no other mention of any other buyer information being validated or checked in the patent.

Accordingly, neither term should be included as a limitation to buyer information in the construction

of purchase request record.

       Identified number

       The parties and the Court agree that this term does not require construction.

       Means for receiving a purchase request

       The parties do not dispute that this limitation should be construed as a means-plus-function

limitation under 35 U.S.C. § 112, ¶ 6. The Court agrees with Autobytel and construes the function

as “receiving a purchase request over a computer network.” Dealix argues that the function should

be construed as “receiving a purchase request over a computer network from a potential buyer.”

Dealix contends that the phrase “from a potential buyer” is part of the function and that the function

is incomplete without this phrase.

       The Court’s construction of “purchase request” does not include the limitation that the

purchase request must come directly from a potential buyer. As discussed above, Autobytel points

to the language in claim 2 that states “wherein said act of receiving said purchase request comprises

receipt of a request that is transmitted through a plurality of web pages” arguing that because the


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purchase request can go through a “plurality of web pages” it does not have to travel directly from

the potential buyer to the Data Center. See Col. 18:30-32. Again, the Court is persuaded by

Autobytel’s argument. A purchase request is not limited such that it must come directly from a

potential buyer. Likewise, the means for receiving a purchase request should not be limited such that

a purchase request must come directly from a potential buyer. A construction limiting the means for

receiving a purchase request in such a manner would create an inconsistency in the Court’s claim

construction.

       The Court also agrees with Autobytel and construes the corresponding structure as “Data

Center server (element 104 in Figure 1 and components of the server illustrated in Figure 6 including

elements 602 buyer access module and element 604 process purchase request module and 612

network access module) working in conjunction with buyer computers (element 116/118 in Figure

1) to execute a computer program implementing at least the steps as shown in Figure 10.” Dealix’s

proposed corresponding structure is nearly identical to Autobytel’s with one exception. Dealix’s

parenthetical description of the Data Center server begins with “Data Center server (element 104 in

Figure 1 and Gateway (element 110 in Figure 1) and components of the server . . . .” Dealix’s

construction adds “gateway” to the corresponding structure based on its presence in Figure 1.

Throughout the specification, Figure 1 included, “gateway” is only present as a component to “one

embodiment” of the invention. See Col. 3:52-53, Col. 6:1-8 (emphasis added). There is no

indication that “gateway” is a part of the only embodiment. Furthermore, no language in the

specification suggests that “gateway” is a necessary structure to perform the recited function.

Accordingly, the Court does not include “gateway” in its corresponding structure.




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        Means for comparing said product identification data and said buyer location information

        The parties do not dispute that this limitation should be construed as a means-plus-function

limitation under 35 U.S.C. § 112, ¶ 6. The Court agrees with Autobytel and construes the function

as “comparing said product identification data and said buyer location information.” Dealix argues

that the function should be construed as “comparing product identification data received from a

potential buyer with buyer location information received from a potential buyer.” This construction

adds “received from a potential buyer” to the language spelled out in the claim. Dealix’s only

argument for including this additional language is that it makes the construction more complete in

the context of the invention as claimed by Claim 30. For reasons already discussed, the Court is not

persuaded by Dealix’s argument. Furthermore, the Court is separately construing the terms “product

identification data” and “buyer location information.” If necessary, these separate constructions by

the Court can address from where “product identification data” and “buyer location information”

originate. Accordingly, the Court does not construe the function to include the phrase “received

from a potential buyer.”

        The parties and the Court agree that the corresponding structure should be construed as “Data

Center server (element 104 in Figure 1 and components of the server illustrated in Figure 6 including

elements 604 process purchase request module, 608 database access module, 610 buyer-dealer

association module and 612 network access module) working in conjunction with the system

database (element 106 in Figure 1) to execute a computer program implementing the steps as shown

at least in Figure 10.”




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         Means for identifying in response to said comparing means at least one of said dealers to

notify

         The parties do not dispute that this limitation should be construed as a means-plus-function

limitation under 35 U.S.C. § 112, ¶ 6. The Court agrees with Dealix and construes the function as

“identifying in response to said comparing means at least one of said dealers to notify.” Autobytel

argues that the function should be construed as “identifying . . . at least one of said dealers to notify.”

Autobytel does not offer any support from the specification or otherwise to indicate why the phrase

“in response to said comparing means” should not be included as part of the function. The Court

agrees with Dealix that Autobytel’s construction is incomplete. The claimed means is not merely

to identify at least one dealer to notify, but to make that identification in response to the comparing

means. Therefore, the “in response to said comparing means” language is part of the function of

“identifying . . . at least one of said dealers to notify.” Accordingly, the Court adopts Dealix’s

proposed function.

         The parties and the Court agree that the corresponding structure should be construed as “Data

Center server (element 104 in Figure 1 and components of the server illustrated in Figure 6 including

element 604 process purchase request module, 608 database access module, 610 buyer-dealer

association module) working in conjunction the system database (element 106 in Figure 1) to execute

a computer program implementing the steps as shown at least in Figure 10.”

         Means for creating a purchase request record

         The parties do not dispute that this limitation should be construed as a means-plus-function

limitation under 35 U.S.C. § 112, ¶ 6. The parties and the Court agree that the function should be

construed as “creating a purchase request record.” Furthermore, the parties and the Court agree that


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the corresponding structure should be construed as “Data Center server (element 104 in Figure 1 and

components of the server illustrated in Figure 6 including elements 604 process purchase request

module, 608 database access module, 610 buyer-dealer association module, 614 network access

module) working in conjunction with the system database (element 106 in Figure 1) to execute a

computer program implementing the steps as shown at least in Figure 10.”

       Means for communicating said purchase request record

       The parties do not dispute that this limitation should be construed as a means-plus-function

limitation under 35 U.S.C. § 112, ¶ 6. The parties and the Court agree that the function should be

construed as “communicating said purchase request to said identified dealer.”

       The Court agrees with Autobytel and construes the corresponding structure as “Data Center

server (elements 104 and 110 in Figure 1 and components of the server illustrated in Figure 6

including elements 604 process purchase request module, 608 database access module, 612 dealer

access module, 614 network access module) working in conjunction with the system database

(element 106 in Figure 1) and the dealer computers (element 120 in Figure 1) and network (elements

102, 110) to execute a computer program implementing the steps as shown at least in Figure 10.”

As with the means for receiving claim, Dealix proposes the same corresponding structure as

Autobytel with the one exception. Dealix adds “gateway” to the corresponding structure based on

its presence in Figure 1. As mentioned above, “gateway” is only present as a component to “one

embodiment” of the invention. See Col. 3:52-53, Col. 6:1-8. There is no indication that “gateway”

is part of the only embodiment or that it is required to perform the recited function. See Col. 3:52-

53. Accordingly, the Court does not include “gateway” as part of the corresponding structure.




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        Means for refreshing

        The parties do not dispute that this limitation should be construed as a means-plus-function

limitation under 35 U.S.C. § 112, ¶ 6. The parties and the Court agree that the function should be

construed as “refreshing said list to include a new purchase request.”

        The Court agrees with Autobytel and construes the corresponding structure as “dealer

computers (element 120 in Figure 1 and components associated with a browser application as

illustrated in Figure 17) working in conjunction with Data Center server (element 104 illustrated in

Figure 1 and Figure 6) and the network (elements 102 and 110 in Figure 1).” Again, Dealix includes

the “gateway” as part of the corresponding structure based on its presence in Figure 1. For the same

reasons mentioned above, the Court does not include the “gateway” as part of the corresponding

structure.

        Means for sending an email message to an email paging service

        The parties do not dispute that this limitation should be construed as a means-plus-function

limitation under 35 U.S.C. § 112, ¶ 6. The Court agrees with Dealix and construes the function as

“sending an email message to an email paging service.” Autobytel argues that the function should

be construed as “sending an email message” excluding the phrase “to an email paging service.”

Autobytel does not offer any support from the specification or otherwise to indicate why the phrase

“to an email paging service” should not be included as part of the function. The function was drafted

to include a specific destination for the email message and to construe the function without such

destination would impermissibly broaden the scope of the function. Accordingly, the Court is not

persuaded that the language should be excluded.

        The parties and the Court agree that the corresponding structure should be construed as


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“dealer computers (element 120 in Figure 1 and components associated with a browser application

as illustrated in Figure 17) working in conjunction with Data Center server (element 104 illustrated

in Figure 1 and Figure 6) and the network (elements 102, 110 in Figure 1).”

                                     MOTION TO STRIKE

       The parties agreed in their Joint Claim Construction and Prehearing Brief (“Joint Statement”)

that each party reserved the right to designate expert witnesses after the prehearing conference. The

parties did not indicate a deadline by which the designation of expert witnesses was to occur. The

Court does expects compliance with Court imposed deadlines and does not approve of parties

changing Court imposed deadlines without approval from the Court. The Court expects all parties

to provide a full and timely disclosure of both the identity and opinions of any expert witness in

accordance with the local rules. Furthermore, any intentional delay in providing such information

to an opposing party is unacceptable.

       In the present situation, where the parties agreed to modify the relevant deadline but neither

received the Court’s approval nor provided an alternative deadline, it is difficult for the Court to

determine if Dealix acted unreasonably, untimely, or in bad faith in disclosing information related

to Dr. Korth. Dealix was apparently willing to allow Autobytel additional time to conduct discovery

related to Dr. Korth. Due to the parties’ agreement on the matter and concessions offered by Dealix

to lessen any surprise suffered by Autbytel, Autobytel does not appear to have suffered unfair

surprise with respect to the Korth declaration. Furthermore, although the Court considered Dr.

Korth’s Declaration, his opinions do not substantively affect the Court’s claim construction opinion.

Accordingly, the Court DENIES Autobytel’s motion.




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                                         CONCLUSION

       For the foregoing reasons, the Court interprets the claim language in this case in the manner

set forth above. For ease of reference, the Court’s claim interpretations are set forth in a table as

Appendix B. The claims with the disputed terms in bold are set forth in Appendix A.

       For the reasons set forth above, the Court DENIES Autobytel’s Motion to Strike the Korth

Declaration.


         So ORDERED and SIGNED this 18th day of January, 2006.




                                __________________________________
                                LEONARD DAVIS
                                UNITED STATES DISTRICT JUDGE




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                                                 APPENDIX A

                                             U.S. PATENT NO. 6,282,517

What is claimed is:
     1. A method of communicating a purchase request to a dealer in a Data Center system having a system database, a buyer
interface, and a dealer interface, wherein said buyer interface and dealer interface provide a remote interface to said Data Center,
said buyer interface and dealer interface provide immediate access to said system database, said method comprising the acts of:
     creating an exclusive database region for each of a plurality of participating dealers in said system database;
     providing each of said plurality of dealers direct access to said exclusive database region over a computer
network, wherein said access is through said dealer interface;
     receiving said purchase request over a computer network from a potential buyer, said purchase request including product
identification data and buyer location information;
     comparing said product identification data and said buyer location information with at least one of a plurality of records that
are associated with at least one of said plurality of dealers;
     identifying in response to said step of comparing at least one of said plurality of dealers to notify;
     creating a purchase request record for said purchase request; and
     communicating said purchase request to said identified dealer, said communicating includes storing said purchase request
record into said exclusive database region for said identified dealer immediately upon creation of said purchase request record,
and wherein said purchase request is accessed by the identified dealer via at least one web page that is provided by a server that
is remote to the identified dealer.
     2. The method as defined in claim 1 wherein said act of receiving said purchase request comprises receipt of a
request that is transmitted through a plurality of web pages.
     3. The method as defined in claim 1, wherein said product identification data includes a vehicle make and a vehicle model.
     4. The method as defined in claim 1, wherein said
purchase request records is either a new vehicle purchase request record or a used vehicle purchase request record.
     5. The method as defined in claim 1, wherein said dealer identification is based on a vehicle make specified in said product
identification data and a zip code specified in said buyer location information.
     6. The method as defined in claim 1, wherein said dealer identification is based on a search of a used vehicle inventory for a
vehicle specified in said product identification data.
     7. The method as described in claim 6, wherein said search is further based on both a buyer search radius and a
dealer search radius.
     8. The method as defined in claim 1, wherein said dealer identification is based on an identification number.
     9. The method as defined in claim 1, wherein said act of communicating includes the act of adding a new vehicle
purchase request record to a new vehicle purchase requests field in a dealer record associated with said identified dealer.
     10. The method as defined in claim 1, wherein said act of communicating includes the act of adding a used vehicle
purchase request record to a used vehicle purchase requests field in a dealer record associated with said identified dealer.
     11. The method as defined in claim 1, wherein said act of communicating includes the act of adding a new vehicle
purchase request record to a list of new vehicle purchase request records.
     12. The method as defined in claim 1, wherein said act of communicating includes the act of adding a used vehicle
purchase request record to a list of used vehicle purchase request records.
     13. The method as defined in claim 1, wherein said act of communicating includes the act of setting a dealer identification
number field to a dealer identification number for said identified dealer.
     14. The method as defined in claim 1, wherein said act of communicating includes the acts of: displaying a list of purchase
requests to said identified dealer; and refreshing said list to include a new purchase request immediately upon the creation of said
new purchase request.
     15. The method as defined in claim 1, wherein said act of communicate includes sending an e-mail message to an
e-mail message paging service.
     16. The method as defined in claim 1, wherein said act of communicating includes logically connecting a new purchase request
record to a dealer record.
     17. The method as described in claim 1, further comprising the act of receiving only one new vehicle purchase request from
said buyer within a 48 hour period.
     18. A purchase request communication system, wherein said purchase request is remotely entered by a potential buyer over
a computer network, said purchase request communication system comprising: a system database which provides an exclusive
database region for each of a plurality of dealers;
     an entry system which creates said purchase request, and which provides at least a first web page to said buyer;
     a dealer management system which provides said plurality of dealers remote access into said exclusive database region via
using at least a second web page; and
     a processing system which creates a purchase request record for said purchase request, said processing system identifying


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which of a plurality of dealers based on said purchase request, said processing system immediately storing said purchase request
record in said exclusive database region for said identified dealer.
      19. The purchase request communication system as defined in claim 18, wherein said purchase request record is either a new
vehicle purchase request record or a used vehicle purchase request record.
      20. The purchase request communication system as defined in claim 18, wherein said dealer identification is based on a vehicle
make and a zip code specified in said purchase request.
      21. The purchase request communication system as defined in claim 18, wherein said dealer identification is determined in
response to a search of a used vehicle inventory for a vehicle specified in said purchase request.
      22. The method as described in claim 21, wherein said search is further based on both a buyer search radius and a dealer search
radius.
      23. The purchase request communication system as defined in claim 18, wherein said dealer identification is determined in
response to an evaluation of an identification number.
      24. The purchase request communication system as defined in claim 18, wherein said communication system communicates
said purchase request to said dealer by adding a new vehicle purchase request record to a new vehicle purchase requests field
in a dealer record associated with said dealer.
      25. The purchase request communication system as defined in claim 18, wherein said communication system communicates
said purchase request to said dealer by adding a used vehicle purchase request record to a used vehicle purchase requests field
in a dealer record associated with said dealer.
      26. The purchase request communication system as defined in claim 18, wherein said communication system
communicates said purchase request to said dealer by adding a new vehicle purchase request record to a list of new vehicle
purchase request records.
      27. The purchase request communication system as defined in claim 18, wherein said communication system communicates
said purchase request to said dealer by adding a used vehicle purchase request record to a list of used vehicle purchase request
records.
      28. The purchase request communication system as defined in claim 18, wherein said communication system
communicates said purchase request to said dealer by setting a dealer identification number field to a dealer identification number
for said identified dealer..
      29. The purchase request communication system as defined in claim 18, wherein said communication system communicates
said purchase request to said dealer by sending an e-mail message to an e-mail message paging service.
      30. A purchase request communication system for communicating to at least one of a plurality of dealers a purchase request
submitted by a potential buyer, said communication system having a system database, a buyer interface, and a dealer interface,
said system database including an exclusive database region for each of said plurality of dealers, said communication system
comprising:
      means for receiving a purchase request over a computer network from a potential buyer, said purchase request including at
least a product identification data and a buyer location information;
      means for comparing said product identification data and said buyer location information with at least one of a plurality
of records that are associated with at least one of said plurality of dealers;
      means for identifying in response to said comparing means at least one of said dealers to notify;
      means for creating a purchase request record for said purchase request; and
      means for communicating said purchase request to said identified dealer, said communicating includes storing
said purchase request record into said exclusive database region for said identified dealer immediately upon said formulating said
purchase request record, and wherein said purchase request is accessed by the identified dealer via at least one web page that is
provided by a server that is remote to the identified dealer.
      31. The communication system as defined in claim 30, additionally comprising: means for displaying a list of purchase
requests to said identified dealer; and means for refreshing said list to include a new purchase request immediately upon tie
creation of said new purchase request.
      32. The communication system as defined in claim 30, additionally comprising means for sending an e-mail message to an
e-mail message paging service.
      33. The communication system as defined in claim 30, wherein said dealer identification is based on both a buyer
provided search radius and a dealer provided search radius.




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                                      APPENDIX B

                CLAIMS CONSTRUCTION FOR US PATENT NO. 6,282,517
Claim Language                        Court’s Construction
Purchase Request                      information concerning a potential purchase transaction
                                      submitted by a potential buyer and received by a Data
Claims 1, 2, 9, 10, 14, 17, 18,       Center system
19, 20, 21, 23, 24, 25, 26, 27, 28,
29, 30, 31
Data Center system                    the system defined by the claims of the patent-in-suit

Claim 1
System database                       a database in the Data Center system

Claim 1
Buyer interface                       a hardware/software module used by a potential buyer to
                                      submit a purchase request to the Data Center system
Claims 1, 30
Dealer interface                      a hardware/software module used by a dealer to access the
                                      Data Center system
Claims 1, 30
Remote interface                      interface to provide remote access to the Data Center

Claim 1
Immediate access                      the ability of the buyer interface and dealer interface to
                                      immediately find and go to a database
Claim 1
Computer network                      two or more computers interconnected to enable
                                      communication among them
Claims 1, 18, 30
Exclusive database region             the collection of all purchase request records in the system
                                      database associated with a particular dealer for its
Claims 1, 18, 30                      exclusive access
Direct access                         the ability of a computer to find and go straight to a
                                      particular storage location in memory or on disk to retrieve
                                      or store an item of information
Claim 1




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                                          1182
Product identification data        information displayed to and/or submitted by a potential
                                   buyer that identifies a product sought to be purchased
Claims 1, 3, 5, 6, 30
Buyer location information         no construction needed

Claims 1, 5, 30
Creating a purchase request        no construction needed
record

Claims 1, 30
Communicating said purchase        no construction needed
request

Claims 1, 30
Displaying                         making visible

Claims 14, 31
Refreshing                         updating information on a display

Claims 14, 31
[storing said purchase request     no construction needed
record into said exclusive
database region] …Immediately
[upon creating of said purchase
request record]
Web page                           a collection of data formatted in a markup language with
                                   hypertext capabilities
Claims 1, 2, 18, 30
Server that is remote to the       server distant from the dealer. Server: a device or
identified dealer                  computer system that is dedicated to providing specific
                                   facilities to other devices attached to the computer network
Claims 1, 30
Entry system                       hardware/software module that enables the input of
                                   information
Claim 18
                                   hardware/software module that produces the web page
Provides at least a first web      through which a potential buyer creates and submits a
page to said buyer                 purchase request

Claim 18


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                                            1183
Dealer management system             hardware/software module that enables a dealer to manage
                                     information
Claim 18
Remote access                        access from a physically distant computer

Claim 18
Immediately storing [said            no construction needed
purchase request record]

Claim 18
Formulating                          creating

Claim 30
Logically connecting                 establishing a link between

Claim 16
Purchase request record              a collection of fields populated by dealer information and
                                     buyer information
Claims 1, 4, 9, 10, 11, 12, 16,
18, 19, 24, 25, 26, 27, 30
Identification number                no construction needed

Claims 8, 13, 23, 28
Means for receiving a                Function: receiving a purchase request over a computer
purchase request                     network

                                     Structure: Data Center server (element 104 in Figure 1
                                     and components of the server illustrated in Figure 6
                                     including elements 602 buyer access module and element
                                     604 process purchase request module and 612 network
                                     access module) working in conjunction with buyer
                                     computers (element 116/118 in Figure 1) to execute a
                                     computer program implementing at least the steps as
                                     shown in Figure 10.




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                                        1184
Means for comparing said         Function: comparing said product identification data and
product identification data      said buyer location information
and said buyer location
information                      Structure: Data Center server (element 104 in Figure 1
                                 and components of the server illustrated in Figure 6
                                 including elements 604 process purchase request module,
                                 608 database access module, 610 buyer-dealer association
                                 module and 612 network access module) working in
                                 conjunction with the system database (element 106 in
                                 Figure 1) to execute a computer program implementing the
                                 steps as shown at least in Figure 10.
Means for identifying in         Function: identifying in response to said comparing
response to said comparing       means at least one of said dealers to notify
means at least one of said
dealers to notify                Structure: Data Center server (element 104 in Figure 1
                                 and components of the server illustrated in Figure 6
                                 including element 604 process purchase request module,
                                 608 database access module, 610 buyer-dealer association
                                 module) working in conjunction the system database
                                 (element 106 in Figure 1) to execute a computer program
                                 implementing the steps as shown at least in Figure 10.
Means for creating a purchase    Function: creating a purchase request record
request record
                                 Structure: Data Center server (element 104 in Figure 1
                                 and components of the server illustrated in Figure 6
                                 including elements 604 process purchase request module,
                                 608 database access module, 610 buyer-dealer association
                                 module, 614 network access module) working in
                                 conjunction with the system database (element 106 in
                                 Figure 1) to execute a computer program implementing the
                                 steps as shown at least in Figure 10.
Means for communicating said     Function: communicating said purchase request to said
purchase request record          identified dealer

                                 Structure: Data Center server (elements 104 and 110 in
                                 Figure 1 and components of the server illustrated in Figure
                                 6 including elements 604 process purchase request module,
                                 608 database access module, 612 dealer access module,
                                 614 network access module) working in conjunction with
                                 the system database (element 106 in Figure 1) and the
                                 dealer computers (element 120 in Figure 1) and network
                                 (elements 102, 110) to execute a computer program
                                 implementing the steps as shown at least in Figure 10.



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                                       1185
Means for refreshing            Function: refreshing said list to include a new purchase
                                request

                                Structure: dealer computers (element 120 in Figure 1 and
                                components associated with a browser application as
                                illustrated in Figure 17) working in conjunction with Data
                                Center server (element 104 illustrated in Figure 1 and
                                Figure 6) and the network (elements 102 and 110 in Figure
                                1)

Means for send an email         Function: sending an email message to an email paging
message to an email paging      service
service
                                Structure: dealer computers (element 120 in Figure 1 and
                                components associated with a browser application as
                                illustrated in Figure 17) working in conjunction with Data
                                Center server (element 104 illustrated in Figure 1 and
                                Figure 6) and the network (elements 102, 110 in Figure 1)




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